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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------X
 In Re The Hain Celestial Group Inc.                         RECUSAL ORDER               FILED
                                                                                         CLERK
 Securities Litigation                                       16-CV-04581 (JMA) (SIL)
                                                                            4:01 pm, Feb 01, 2022
 -----------------------------------------------X                                 U.S. DISTRICT COURT
                                                                             EASTERN DISTRICT OF NEW YORK
                                                                                  LONG ISLAND OFFICE
 The undersigned hereby recuses herself from this matter pursuant to 28 U.S.C. § 455 (a) and it is
 requested that the Clerk of the Court reassign this matter to a randomly selected District Judge.


 Dated: Central Islip, New York                       SO ORDERED
        February 1, 2022

                                                      /s/ Joan M. Azrack
                                                      JOAN M. AZRACK
                                                      United States District Judge
